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   I, Special Agent Patrick Dawley being duly sworn, depose and state as follows:
                 INTRODUCTION AND AGENT BACKGROUND
1. I am a Special Agent of the Bureau of Alcohol, Tobacco, Firearms and Explosives

   (“ATF”) since February 2019. I am currently assigned to ATF’s Manchester, New

   Hampshire Field Office. As an ATF Special Agent, I investigate violations of federal

   firearms laws set forth in Title 21 and Title 26 of the United States Code. While training

   to become a Special Agent, I attended the Federal Law Enforcement Training Center

   (“FLETC”) in Glynco, Georgia for six-and-a-half months. During my time at FLETC, I

   received training in practices and methods of illegal firearm possessors, firearm

   traffickers, and related federal criminal statutes. In addition, I completed the ATF

   Firearms Interstate Nexus Training conducted at the ATF National Tracing Center in

   Martinsburg, West Virginia, in which I received specific instructions as well as various

   reference materials regarding the origin of firearms and ammunition. I have examined the

   ATF Firearms Technology Branch’s Reference Collection, which includes approximately

   20,000 firearms. I have trained local and state law enforcement partners in firearms

   identification and firearms tracing.

2. Prior to becoming an ATF Special Agent, I was a police officer for the Reading,

   Massachusetts Police Department for approximately seven years. During that time, I was

   assigned the ancillary duties as Firearms Instructor, Armorer, Weapons Custodian and

   Firearms Licensing Authority between 2016-2019. These ancillary duties required me to

   personally render safe and physically examine hundreds of firearms and thousands of

   rounds of ammunition.

3. Over the course of my law enforcement career, I have conducted and/or participated in a

   number of investigations involving state and federal firearm and controlled substance
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   violations. I have interviewed multiple victims, sources of information, witnesses,

   suspects, and defendants regarding various types of criminal activity. I have also served

   search warrants for various crimes and have made criminal arrests for firearm and

   controlled substance violations. I participated in state and federal investigations involving

   possession of illegal weapons including firearms, improvised explosive devices and

   possession of controlled substances. I also conducted numerous investigative stops and

   probable cause searches of people and vehicles. I participated in physical surveillance

   operations and participated in the execution of state and federal arrest warrants. Based on

   my training, knowledge, and experience, I am familiar with the manner and means

   commonly utilized regarding illegally possessed firearms by prohibited persons, to

   include violent felons and members of drug trafficking organizations. I am familiar with

   the utilization of privately made firearms, firearms with modified or obliterated markings

   and additional methods used to conceal the identification of a firearm in order to hinder

   law enforcement from being able to link firearms to the prohibited and/or illegal

   possessor.

4. I am a “Federal law enforcement officer” within the meaning of Federal Rule of Criminal

   Procedure 41(a)(2)(C), that is, a government agent engaged in enforcing the criminal

   laws and duly authorized by the Attorney General to request a search warrant.

5. I am submitting this affidavit in support of a criminal complaint, and accompanying

   arrest warrant, for Justin GEBO (hereinafter, “GEBO”) being in possession of a firearm

   while under indictment, in violation of 18 U.S.C. § 922(n), being in possession of a

   firearm as a previously convicted felon, in violation of 18 U.S.C. § 922(g)(1), and being

   in possession of a firearm as a user of illegal drugs, in violation of 18 U.S.C. § 922(g)(3).



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6. Since this affidavit is being submitted for the limited purpose of obtaining a criminal

   complaint, I have not included each and every fact known to me concerning this

   investigation. However, I have set forth all relevant material information I am aware of

   and the facts that I believe are necessary to establish probable cause to believe that

   GEBO committed the charged offense.

                                  PROBABLE CAUSE

                              June 3, 2023 – Firearm Recovery

7. This investigation stems from the June 3, 2023, homicides in Franklin, New Hampshire,

   of a 35-year-old mother,                 , and her 18-month-old daughter,                 , as

   well as the shooting of a 5-year-old juvenile female. On June 3, 2023, the Franklin Police

   Department recovered a Ceska Zbrojovka ( “CZ”), model Scorpion EVO 3 S2, 9x19mm

   short-barreled rifle, with an attached armbrace, bearing serial number C853854,

   (hereinafter, the “CZ Scorpion”), from the homicide scene at                    , Franklin,

   New Hampshire.

8. On June 8, 2023, I learned from Franklin Police Department personnel who were present

   on scene, that the CZ Scorpion was located outside of                    , in the rear yard,

   approximately five feet from the rear steps.

9. Based on the investigation conducted to date by the New Hampshire State Police, Jamie

   BELL has been identified as the suspect in the homicides. BELL was subsequently found

   deceased in Franklin, New Hampshire and his death was determined by the New

   Hampshire Medical Examiner’s Office to have been a suicide by way of a single, self-

   inflicted incised wound of the neck.

10. I know through my training, knowledge, experience as a firearms interstate nexus agent,


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   that the CZ Scorpion was manufactured in Czechoslovakia and was imported into the

   United States by CZ-USA in Kansas City, Kansas. It therefore traveled in foreign and

   interstate commerce prior to being recovered in the State of New Hampshire.

11. On June 3, 2023, I examined the firearm, which was transferred to the custody of the

   New Hampshire State Police Major Crime Unit, and conducted an urgent trace (eTrace

   #T20230283137) of the CZ Scorpion. I learned the firearm was sold as a pistol by Riley’s

   Sport Shop (FFL#: 6-02-02383), located in Hooksett, New Hampshire, on or about April

   20, 2019, to Noah Smith.

12. On June 6, 2023, I conducted an interview of Mr. Smith, in Moultonborough, New

   Hampshire, regarding the CZ Scorpion. Mr. Smith stated he sold the firearm to Abe’s

   Awesome Armament (“Abe’s”) (FFL#: 6-02-34397), located in New Hampton, New

   Hampshire, on or about July or August 2022.

13. On June 6, 2023, I learned from Abe’s that Mr. Smith sold the CZ Scorpion to the store

   on or about July 30, 2022. Abe’s stated according to their Acquisition and Disposition

   records, the CZ Scorpion was sold to a former employee, Eric Banks. Abe’s provided a

   copy of the ATF Form 4473. I reviewed the form and observed Mr. Banks purchased the

   CZ Scorpion on September 7, 2022.

14. On June 6, 2023, I conducted a telephonic interview with Mr. Banks regarding the CZ

   Scorpion. Mr. Banks stated that in approximately October 2022, he privately sold the CZ

   Scorpion to his neighbor, Devin Hannagan.

15. On June 6, 2023, I conducted a telephonic interview of Mr. Hannagan regarding the CZ

   Scorpion. Mr. Hannagan confirmed he purchased the CZ Scorpion from Mr. Banks in the

   Fall of 2022. Mr. Hannagan stated on January 1, 2023, he sold the CZ Scorpion via


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           Snapchat to “Justin Geebo.” 1 Mr. Hannagan stated he posted the CZ Scorpion for sale on

           his Snapchat account, “                     ” with the vanity name             ” and

           received a response from the vanity name “               ” account “         .” Mr.

           Hannagan stated he knew the account belonged to “Justin Geebo.”

      16. On June 7, 2023, I conducted a recorded interview of Mr. Hannagan, at his residence in

           Bristol, New Hampshire. Before the recorded interview with ATF, the Bristol Police

           Department conducted a recorded (body-worn camera) blind photo array, in which Mr.

           Hannagan was shown eight driver’s license photographs at random. Mr. Hannagan

           readily identified the sixth photograph as “Justin GEBO,” and stated he recognized the

           driver’s license photograph to be GEBO – the individual he met in person on January 1,

           2023, who purchased the CZ Scorpion from him.

      17. Justin Gebo (DOB:                    ), is a resident of Belmont, New Hampshire. During the

           recorded interview, Mr. Hannagan stated he met GEBO approximately in the summer of

           2021. Mr. Hannagan stated he knew GEBO through numerous mutual acquaintances in

           the vehicle-repair businesses throughout central New Hampshire. Mr. Hannagan stated he

           had previously worked on GEBO’s vehicles, to include an Indian Motorcycle and Subaru,

           unknown model.

      18. I learned from the Franklin Police Department, who conducted a routine motor vehicle

           registration query, that GEBO had a registered black 2006 Subaru Impreza, bearing

                     and a black 2019 Indian N19RTS25 motorcycle, bearing New Hampshire

           registration         .

      19. During the interview Mr. Hannagan showed me his cellphone, and specifically his



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    The name appears here as it was spelled out by Mr. Hannagan.

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Snapchat account, “                ” with the vanity name “              ”. I observed a

written SnapChat conversation between Hannagan and the vanity name “                ”

account “          ” in which the only saved message was time-stamped January 1,

2023, with Mr. Hannagan’s home address. Mr. Hannagan stated he sent his home address

to GEBO after they agreed to the price of $1,000.00 cash for the CZ Scorpion. Mr.

Hannagan stated he originally posted photographs of the CZ Scorpion to his friend’s list

in the middle of December 2022, and received an immediate response from GEBO.

According to Mr. Hannagan, GEBO requested approximately two weeks to gather the

money to pay for the CZ Scorpion. Mr. Hannagan showed me two photographs, time-

stamped October 4, 2022, of pictures of a firearm, which I readily identified as the CZ

Scorpion. Mr. Hannagan stated these were the photographs he uploaded and posted to

Snapchat to attempt to sell the firearm. Mr. Hannagan stated, on January 1, 2023, GEBO

and a white male, introduced as GEBO’s “brother,” arrived at Mr. Hannagan’s home

address in a Nissan Sentra. GEBO provided Mr. Hannagan with $1,000.00 cash in

exchange for a red gun case, containing the CZ Scorpion and two magazines, one of

which was loaded, which was provided directly to GEBO.




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      CZ Scorpion Photographs taken by Mr. Hannagan on October 4, 2022




                 Stock Photograph of CZ Scorpion EVO Case




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20. During the interview Mr. Hannagan also stated that after being contacted by Mr. Banks

   on June 6, 2023, he (Mr. Hannagan) had messaged GEBO via SnapChat to the

   aforementioned account, asking GEBO in substance what he (GEBO) had done with the

   CZ Scorpion. Mr. Hannagan stated that the message was not viewed by GEBO for

   approximately one day and after being viewed, GEBO did not reply to the message.

21. On June 8, 2023, I learned from Mr. Hannagan that the “brother” who was present during

   the January 1, 2023 firearm transfer was believed to be Dana GEBO. Mr. Hannagan

   stated he viewed Justin GEBO’s Facebook account friend’s list and observed the male

   who looked like the “brother.” Dana GEBO’s driver’s license photograph was shown to

   Mr. Hannagan who confirmed it was the same male he observed on Facebook and in

   person on January 1, 2023.

                            Justin GEBO – Criminal History

22. I reviewed GEBO’s criminal history and, on or about July 18, 2022, GEBO was charged

   with Reckless Conduct-Deadly Weapon (RSA 631:3 NH) in Merrimack Superior Court

   (Docket # 217-2022-CR-00681), a class B felony, punishable by 3 ½ to 7 years

   imprisonment. On January 5, 2023, GEBO pleaded guilty and was convicted of the

   aforementioned felony charge and sentenced to 12 months imprisonment, suspended for 4

   years, and 2 years’ probation.

23. I know that persons who are unable to obtain, procure and/or acquire firearms through

   traditional means, such as a federal firearms licensee, because they are a prohibited

   person and unable to pass a background check, commonly obtain firearms illegally

   through private sales and the second-hand market. I know that persons prohibited from

   possessing firearms, such as persons under indictment and/or convicted felons,



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         commonly retain firearms, once obtained, for long periods of time, because they are

         unable to easily obtain firearms.

                          April 18, 2023, ATF Warning Letter – Forced Reset Trigger

    24. On June 7, 2023, I learned from speaking with ATF Special Agent James Martin and

         reviewing reports and documents, that, on April 18, 2023, Special Agent Martin and

         Special Agent Hoover met with New Hampshire Probation and Parole Officer Renee

         Honeman (hereinafter, “NHPPO Honeman”) and GEBO at the Franklin Police

         Department, regarding GEBO purchasing a forced reset trigger from Wide Open

         Enterprises, classified as a machinegun part, in violation of Title 18, United States Code

         922(o). GEBO stated he had purchased the item online, had installed it into an unknown

         AR-type rifle, chambered in .300 Blackout caliber, which he had since sold to an

         unknown individual. GEBO signed and dated an ATF Warning Letter in the presence of

         the aforementioned investigators, which acknowledged he understood he was in violation

         of federal law for previously possessing a machinegun part 2. GEBO was verbally advised

         by ATF Investigators, which he acknowledged, that he was a convicted felon and unable

         to possess firearms and ammunition.

    25. I learned from Special Agent Martin that GEBO provided the cellphone number

               , during the interview, which was confirmed by NHPPO Honeman. NHPPO

         Honeman stated she had previously observed GEBO to have an unknown brand


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  Forced Reset Triggers (“FRT’s”) were sold as nonregulated gun parts consistent with trigger assemblies until
October 2021, when the ATF Firearms and Ammunition Technology Division (“ATF FATD”) made a firearms
determination that the FRT was a machinegun part. At that time, cease and desist letters were then issued to stop the
sale of FRTs into commerce. In 2023, the ATF began to recall FRTs nationwide and to attempt to retrieve FRTs that
were shipped to identified individual’s addresses through obtained business shipping records from distributors.
Based on the aforementioned conversation with GEBO, it was undetermined whether the part was regulated by the
ATF at the time GEBO purchased the FRT. It also was undetermined when GEBO obtained and/or installed the FRT
into the alleged .300 blackout caliber rifle. Lastly, it was undetermined whether GEBO transferred the .300 blackout
caliber rifle prior to January 5, 2023.

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   cellphone in a red and black cellphone case. NHPPO Honeman stated GEBO’s email

   address was         @icloud.com.

26. A search of the phone number                through numerous databases produced the

   results of a Verizon Wireless number from the Franklin, New Hampshire area.

                         June 7, 2023 – Probation Schedule Visit

27. I learned from NHPPO Honeman, on June 7, 2023, GEBO reported to the New

   Hampshire Probation Office, located at 314 N. State Street, Concord, New Hampshire at

   approximately 1:30 PM for a scheduled visit with NHPPO Honeman. During that visit, I

   learned GEBO admitted to using methamphetamines for the last few days to include as

   recent as June 6, 2023. According to NHPPO Honeman, GEBO stated he used drugs

   recently because he was upset about the events of the shooting involving Jamie BELL

   and the murder of BELL’s daughter and fiancé. GEBO reported a police contact to

   NHPPO Honeman on June 3, 2023, during the manhunt for BELL as the aforementioned

   homicide suspect. During the police encounter, Boscawen Officer Smith stopped GEBO

   and looked inside his vehicle. GEBO advised NHPPO Honeman that he had known

   BELL since he was six-years-old, and that BELL had tattooed his arm. GEBO advised

   NHPPO Honeman that BELL was using methamphetamines and anabolic steroids and

   that BELL was paranoid. GEBO advised also that BELL believed the now-deceased 18-

   month-old victim of the homicide, was not actually BELL’s biological daughter, as

   BELL had been led to believe.

28. I learned from Franklin Police Department dispatch log 23-14108 and Boscawen Police

   Officer Ryan Smith, that on June 3, 2023, during the active homicide investigation and

   the manhunt for BELL that ensued, at approximately 2:06 PM, GEBO was stopped by



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   Officer Smith in a blue sedan in the vicinity of 198 South Main Street in Franklin, New

   Hampshire. This location is approximately 2000 feet from the homicide scene at

               , Franklin, New Hampshire.

29. I learned from NHPPO Honeman, that on June 3, 2023, she received a notification that

   GEBO was queried in the New Hampshire SPOTS system by Boscawen Officer Smith at

   2:01 PM.

30. I learned from the Franklin Police Department, who conducted a routine motor vehicle

   registration query, that GEBO had a registered blue 2007 Nissan Sentra, bearing New

   Hampshire registration          .

                                  GEBO - Drug Use

31. I learned from GEBO’s criminal history that on or about August 15, 2016, GEBO was

   convicted of misdemeanor Possession of a Controlled Drug.

32. I learned from GEBO’s criminal history that on or about July 18, 2022, GEBO was

   arrested for Transporting Drugs in a Motor Vehicle and Possession of a Controlled Drug.

33. I learned from NHPPO Honeman that GEBO has admitted to the following drug use at

   schedule probation meetings, since being placed on probation on January 5, 2023:

       a. On January 17, 2023, GEBO admitted to smoking marijuana three weeks prior to

          the meeting;

       b. On January 25, 2023, GEBO admitted to using methamphetamine three weeks

          prior to the meeting;

       c. On February 3, 2023, GEBO produced a positive urinalysis during the meeting;

       d. On February 8, 2023, GEBO admitted to using methamphetamine on February 7,

          2023;



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       e. On March 8, 2023, GEBO admitted to using methamphetamine five days prior to

          the meeting;

       f. On March 30, 2023, GEBO admitted to using methamphetamine and Adderall

          without a prescription, two days prior to the meeting;

       g. On April 5, 2023, GEBO admitted to using Adderall without a valid prescription

          on April 1, 2023;

       h. On April 10, 2023, GEBO admitted to using Adderall without a valid prescription

          on April 9, 2023;

       i. On April 18, 2023, GEBO admitted to using methamphetamine a week prior to

          the meeting;

       j. On April 24, 2023, GEBO admitted to using Adderall without a valid prescription

          on the same day;

       k. On June 7, 2023, GEBO admitted to using methamphetamine on June 6, 2023 and

          for a couple days prior;

              February 3, 2023 – Felon in Possession of Firearm Arrest

34. I learned from Laconia Police Department Report #23-100-AR, on February 3, 2023,

   GEBO was pulled over for a loud exhaust, excessive tint and a rear passenger license

   plate light being out. GEBO was the sole occupant of this vehicle – a blue 2007 Nissan

   Sentra, bearing New Hampshire registration           , registered in GEBO’s name.

   During the motor vehicle stop, GEBO advised officers that he had an AR-type rifle in the

   rear or his vehicle, which officers observed in plain view. Laconia Police Department

   retrieved a 17 Design and Manufacturing, model 17DM-15, multicaliber rifle, bearing

   serial number 21-08572 from the rear seat of GEBO’s vehicle. GEBO was arrested for



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       Felon in Possession of a Dangerous Weapon (RSA 159:3 NH).

   35. I know through my training, knowledge, experience as a firearms interstate nexus agent,

       that the 17 Design and Manufacturing, model 17DM-15, multicaliber rifle, bearing serial

       number 21-08572, was not manufactured in the State of New Hampshire and therefore

       traveled in interstate commerce prior to being recovered in the State of New Hampshire.

                                         CONCLUSION

   36. Based on the above information, it is my conclusion that there is probable cause to

       believe that between January 1, 2023 and February 3, 2023, in the District of New

       Hampshire, GEBO was illegally in possession of firearms, while under indictment, in

       violation of 18 U.S.C. § 922(n); as a previously convicted felon, in violation 18 U.S.C. §

       922(g)(1); as a user of illegal drugs, in violation 18 U.S.C. § 922(g)(3). I therefore

       respectfully request that this honorable Court issue a warrant for the arrest of GEBO.

                                                             /s/ Patrick Dawley
                                                             Patrick Dawley
                                                             Special Agent, ATF


The affiant appeared before me by telephonic conference on this date pursuant to Fed. R. Crim.
P. 4.1 and affirmed under oath the content of this affidavit and application.

       Jun 8, 2023
Date: _________                       ________________________________
                                      Hon. Andrea K. Johnstone
Time: 4:44
      _______
           PM, Jun 8, 2023            United States Magistrate Judge




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